Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 1 of 24

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Attorneys for Ria R Squared, Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

 

RIA R SQUARED, INC., )
a Delaware Corporation, )
)

Plaintiff, )

)

Vv. ) Case No.

)

WYOMING CATHOLIC COLLEGE, )
a Wyoming Nonprofit Corporation, )
)

Defendant. )

COMPLAINT

 

Plaintiff, Ria R Squared, Inc. (““R Squared”), by and through undersigned counsel, states
and alleges as follows for its Complaint against Defendant Wyoming Catholic College (hereinafter

“WCC”), in the above-captioned matter:

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 2 of 24

NATURE OF THE ACTION

1. This case arises from defendant WCC’s refusal to return funds to plaintiff R
Squared that are rightfully owed to R Squared. Those funds were fraudulently obtained from R
Squared by WCC’s then-Chief Financial Officer, through his position as CFO and facilitated by
WCC and its employees, and were provided by the then-CFO to WCC as a “donation”; i.e., in
exchange for no consideration whatsoever.

2, WCC does not dispute that its then-CFO Paul McCown engaged in a complex,
calculated, methodical and fraudulent scheme ~ including falsifying bank statements and
documents and impersonating a Wyoming Community Bank banker — to defraud R Squared out
of the sum of $14.7 million, of which he transferred $10 million to WCC as a purported donation.

3. McCown was able to execute this fraudulent scheme through his role as then-CFO
of WCC the help of WCC’s Executive Vice President Jonathan Tonkowich, who introduced him
to R Squared and received (also for no consideration) $375,000 of the fraudulently-obtained funds
(as did another WCC colleague), and the Director of WCC’s Business Office, who notarized
documents instrumental in McCown’s fraud.

4. WCC also does not dispute that it provided no consideration for the $10 million.
Indeed, after becoming convinced of McCown’s perfidy, WCC announced, in both a public
statement and a message directly from its President, that “the funds are in the process of being
returned” (emphasis added), as legally required in any event. Most of the $10 million has
(fortunately) been seized by the FBI and R Squared hopes and expects to eventually receive those

seized funds, but notwithstanding WCC’s public commitments and the requirements of the law,

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 2 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 3 of 24

WCC refuses to return even the balance of the funds it received that are rightfully owed to R

Squared.
THE PARTIES
5. Plaintiff R Squared is a registered Delaware corporation, in good standing,

primarily conducting business out of New York City, New York.

6. Defendant WCC is a registered Wyoming non-profit corporation with its principal

place of business located at 306 Main Street in Lander, Fremont County, Wyoming.
JURISDICTION AND VENUE

7. Jurisdiction is proper pursuant to 28 U.S.C. § 1332 (diversity of citizenship).

8. The amount in controversy in this matter exceeds the sum of $75,000.00.

9, Jurisdiction is proper in this District as WCC conducts business in the State of
Wyoming, and the underlying facts regarding the fraudulent scheme took place within the State of
Wyoming and this Judicial District.

10. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c) because (i)
WCC is incorporated in Wyoming, and (ii) a substantial part of the events or omissions giving rise
to the claims occurred in this District.

THE RELEVANT FACTS

A. PAUL MCCOWN’S FRAUD ORCHESTRATED
THROUGH HIS POSITION AS CFO OF WCC

11. Upon information and belief, early in 2021 Paul McCown, the then-CFO of WCC,
told his employer that he had become extraordinarily wealthy and wished to make a substantial

donation to WCC.

 

Complaint
Rid R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 3 of 11

12139967. 10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 4 of 24

12, In or about February of 2021, McCown signed a Pledge Agreement promising to
donate the sum of $20 million to WCC.

13: That same month, WCC’s Executive Vice President Tonkowich introduced
McCown, in his capacity as the CFO of WCC, to Emilio Gonzalez, an executive of an investment
advisory firm affiliated with plaintiff R Squared and a long-term donor to WCC. McCown and
Tonkowich both provided Gonzalez with their WCC business cards at that time, and McCown
provided Gonzalez with his WCC email address, Paul McCown@W yomingcatholic.edu.

14. During the introduction, McCown and Tonkowich represented that they were
seeking advisory services on behalf of WCC relating to WCC’s endowment fund, which they said
was about to receive a $10 million donation (from McCown’s promised donation, although they
did not explain that to Gonzalez at the time).

1S. In March 2021, Gonzalez introduced McCown to David Kang — the Chief
Executive Officer of plaintiff R Squared, a global alternative asset manager, and the President of
R Squared’s affiliated investment advisory firm — in connection with providing advisory services
to WCC, and provided Kang with McCown’s WCC e-mail address.

16. Later in March 2021, McCown advised Kang that he had amassed substantial
personal wealth and was also seeking investment advisory services on his own behalf.

17. That same month, McCown provided R Squared with various bank statements
purportedly from Wyoming Community Bank in Lander and US Bank in Minneapolis. Those
statements purported to show that McCown had hundreds of millions of dollars, including a

purported balance of $750,323,282 in his Wyoming Community Bank account.

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 4 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 5 of 24

18. In the ensuing weeks, R Squared received various documents purportedly executed
by Wyoming Community Bank Vice President and Branch Manager Kendall Hayford, from the
email address khayford@wyocommunityb.com. Those documents included, among others, a
Deposit Account Control Agreement and two “attestation” forms apparently on Wyoming
Community Bank letterhead verifying the account balance in McCown’s account.

19; Shortly thereafter, McCown requested that R Squared loan his entity, McCown
Enterprises, LLC, $15 million to alleviate a temporary cash-flow issue. In order to nurture the
relationship with WCC and its CFO McCown, and based upon McCown’s purported financial
documentation, R Squared agreed to loan $15 million to McCown Enterprises.

20. On May 10, 2021, McCown executed a Promissory Note and Security Agreement
on behalf of McCown Enterprises, LLC, both of which documents were notarized by the Director
of WCC’s Business Office, April Pendleton.

21, On May 11, 2021, R Squared wired a total of $14.7 million (the $15 million loan
amount less an origination fee) in accordance with wire instructions provided by McCown.

22 Shortly after funding the loan, R Squared learned that the bank statements provided
by McCown, as well as the attestations and Deposit Account Control Agreement purportedly
signed by Wyoming Community Bank Vice President Hayford, were forged, inaccurate and
fraudulent.

23. The foregoing, all of which is not in dispute, demonstrates that a complex,
calculated, methodical and fraudulent scheme was orchestrated and executed by McCown with the

assistance of WCC, and to the benefit of WCC, against R Squared.

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 5 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 6 of 24

B. WCC’S RECEIPT OF THE $10 MILLION FRAUDULENTLY OBTAINED
FROM R SQUARED

24.  Onor about May 11, 2021, McCown transferred the majority of the $14.7 million
out of his business’s account at Wyoming Community Bank. Specifically, McCown made
numerous transfers, including but not limited to the following, which benefitted WCC and its
employees:

a. McCown transferred $10 million (funneling it through the “Goldman Sachs

Philanthropy Fund”) as a “donation” to WCC, where he was the CFO.

b. McCown sent $375,000 to Tonkowich, McCown’s colleague at WCC who had

introduced WCC and McCown to R Squared’s principal.

c. McCown sent another $375,000 to Susan Gleason, an Admissions Counselor at

WCC and McCown’s colleague,

25, WCC gave no consideration for the $10 million “donation” that it received from

McCown’s fraudulently obtained funds.

C. WCC PROMISES TO RETURN THE BALANCE OF THE FRAUDULENTLY-
OBTAINED FUNDS NOT SEIZED BY THE FBI, AS LEGALLY REQUIRED IN ANY
EVENT

26. On June 9, 2021, WCC confirmed to R Squared, through counsel, that it did receive
a $10 million “anonymous gift” that WCC “believes .. . was initiated by Paul McCown.” At that
time WCC stated that it was “inclined to believe” McCown’s denial of any fraud or wrongdoing
based on “their years of collegial friendship and awareness of his character,” but that it had

“voluntarily and unilaterally decided to hold the funds pending completion of its investigation . .

.” (Exhibit A).

 

Complaint
RiA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 6 of 11

12139967.50 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 7 of 24

27, Shortly thereafter the FBI seized $9,760,845.23 from two of WCC’s banks where
the proceeds of McCown’s $10 million “donation” had been held.

28, After seizure of the funds referenced above from WCC’s banks, WCC maintained
possession of $239,154.77 of the $10 million fraudulently obtained by McCown from R Squared
and “donated” to WCC without any consideration.

29. In July 2021, WCC publicly acknowledged that the funds it had received were the
proceeds of McCown’s fraud upon R Squared, and expressly promised — not once, not twice, but
on three separate occasions — that all of the money was going to be returned (as legally required in
any event).

30. Specifically, in a public statement posted te WCC’s website on July 7, 2021
(Exhibit B), WCC confirmed that it had received the funds as a result of McCown’s “profound
breach of trust,” and proclaimed that “WCC is cooperating with parties invelved in the civil suit,
and the funds are in the process of being returned” (emphasis added).

31. To the same effect, on July 8, 2021, WCC circulated an email to a WCC listserv
{Exhibit C) again acknowledging that the money received from McCown had “turned out to be the
result of a remarkably complex act of fraud,” and reporting accordingly that “as of today, the
money is in the process of being returned” (emphasis added).

32. And finally, on or about July 14, 2021, WCC confirmed yet again — this time in a
phone conversation between its counsel and R Squared’s counsel — that WCC intended to return
all of the funds obtained as a result of McCown’s fraud.

33. Nonetheless, on or about September 21, 2021, WCC’s counsel informed R

Squared’s counsel that WCC no longer intended to return the remaining $239,154.77 to R Squared.

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 7 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 8 of 24

34. WCC has in fact failed and refused to return the $239,154.77 that the FBI did not
seize from the $10 million it received as a result of McCown’s fraudulent activities.

35. | Upon information and belief, WCC does not intend to return those funds to R
Squared absent compulsion of the Court.

COUNT 1-— CONVERSION AND CIVIL THEFT

36. | R Squared hereby repeats, re-alleges and incorporates by reference the allegations
contained in the paragraphs above.

37. WCC is currently exercising dominion over $239,154.77 of R Squared’s money
that it admits, and could not deny in any event, that it obtained through a fraudulent scheme
perpetrated by McCown.

38, R Squared, through its counsel, has repeatedly demanded the return of the
outstanding $239,154.77 from WCC,

39. WCC has refused to return the outstanding funds to R Squared, thereby denying R
Squared the right to use and enjoy that property and impeding R Squared’s ability to protect its
interests.

40. | By reason of the foregoing, R Squared has been and will continue to be damaged
in the amount of $239,154.77 plus interest.

COUNT 2 - UNIFORM FRAUDULENT TRANSFERS ACT, WS. § 34-14-205

41. | R Squared hereby repeats, re-alleges and incorporates by reference the allegations
contained in the paragraphs above.

42. The Wyoming Uniform Fraudulent Transfer Act, § 34-14-205 (‘Transfers

fraudulent as to present and future creditors”), provides as follows:

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 8 of 11

12139967.10 - 12/01/21]
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 9 of 24

(a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,

whether the creditor's claim arose before or after the transfer was made or the

obligation was incurred, if the debtor made the transfer or incurred the obligation:
(1) With actual intent to hinder, delay or defraud any creditor of the debtor;
or

(ii) Without receiving a reasonably equivalent value in exchange for the
transfer or obligation, and the debtor:
(A) Was engaged or was about to engage in a business or a
transaction for which the remaining assets of the debtor were
unreasonably small in relation to the business or transaction; or
(B) Intended to incur, or believed or reasonably should have
believed that he would incur, debts beyond his ability to pay as they
became due.

43. On or about May 11, 2021, McCown fraudulently obtained $14.7 million from R
Squared.

44, On or about May 12, 2021, McCown, with the intent to hinder, delay or defraud R
Squared, transferred $10 million of the $14.7 million to WCC as an “anonymous” donation.

45, WCC gave no consideration for the $10 million that it received from McCown.

46. At the time McCown sent $10 million to WCC, his remaining assets, if any, were
unreasonably small in relation to the $10 million transferred, and he knew or reasonably should
have believed that he would incur debts beyond his ability to pay as they became due.

47, By reason of the foregoing, the $10 million transfer from McCown to WCC is
voidable under the Wyoming Uniform Fraudulent Transfer Act and R Squared was, and continues
to be, damaged as a result thereof.

48. WCC’s liability for damages to R Squared arising out of the Wyoming Fraudulent
Transfer Act is presently in the amount of $10 million plus interest, and the Court’s award should

be in that amount. While R Squared believes that the funds seized from WCC by the FBI (as well

as other proceeds of the fraudulently-obtained $14.7 million transferred elsewhere by McCown)

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 9 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 10 of 24

will be turned over to R Squared if McCown is convicted as a result of the government’s
investigation of his fraudulent activities described above, there can be no assurance that R Squared
will receive those funds, or when that might happen ifit does happen. Should R Squared receive
from the United States government any or all of the $9,760,845.23 seized from WCC, of course
that will be credited against damages owed to R Squared by WCC, or will be returned to WCC, as
plaintiff is not seeking double recovery of the $10 million fraudulently obtained by McCown and
transferred by him to WCC without consideration.
COUNT 3 — NEGLIGENCE —- VICARIOUS LIABILITY

49. R Squared hereby repeats, re-alleges and incorporates by reference the allegations
contained in the paragraphs above.

50. WCC employed McCown, and currently employs Tonkowich and Pendleton, and
has or had, at all times relevant, direct supervision over their day to day actions and tasks with
regard to their employment at WCC.

51. As the CFO of WCC, McCown was hired to manage WCC’s finances, and WCC
expected McCown to do so, including seeking advisory services and funding for the WCC
endowment fund.

52. McCown, through his position as CFO of WCC, with the assistance of WCC
employees Tonkowich and Pendleton and acting within the scope of his employment, fraudulently
obtained funds from R Squared to benefit WCC with a donation.

53. | WCC has ratified McCown’s misconduct by refusing to return the balance of the

funds that it received through his fraudulent transaction.

 

Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 10 of 11

12139967. 50 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 11 of 24

54. By reason of the foregoing, R Squared has been, and will continue to be, damaged
in an amount to be determined at trial.
CONCLUSION
WHEREFORE, Plaintiff Ria R Squared, Inc. respectfully prays for judgment and
damages against Defendant Wyoming Catholic College for a sum to be proven at trial that is just,
fair, and reasonable, and for Plaintiffs costs and for any other such relief as the Court deems just

and proper as may further the interests of equity and justice.

RESPECTFULLY SUBMITTED this 6th day of December, 2021
{s/ HU CL

Stuart R. x fd §-2244

Ryan J. Schwartz, WSB# 6-3611

Ryan L. Ford, WSB# 7-4667

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Complaint
RIA R SQUARED, INC. V. WYOMING CATHOLIC COLLEGE
Page 11 of 11

12139967.10 - 12/01/21
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 12 of 24

Exhibit A
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 13 of 24

Bradley T. Cave

HOLLAND& HART. Sear

Phone 307.778.4210
bcave@hollandhart.com

June 9, 2021

Via Email Only: spopofsky@kkwe.com
Steven R. Popofsky

Partner

Kleinberg, Kapan, Wolff & Cohen, P.C.
500 Fifth Avenue

New York, NY 10110

RE: Wyoming Catholic College
Mr. Popofsky:

As you know, this firm represents Wyoming Catholic College with respect to the allegations of
fraud generally described in your letter of June 3, 2021 and the demands of your email dated
June 9, 2021.

The College acknowledges it received a gift which was designated as anonymous in the amount
of $10 million (not $10.5 million) from the Goldman Sachs Philanthropy Fund, and it believes
the gift was initiated by Paul McCown.

Your June 9 email makes a series of demands with which the College must comply before you
will provide information and documentation to support your allegations. However, your June 3
letter raises far more questions than answers, and certainly fails to provide the College with any
specific information to question the College’s good faith ownership of the gift or to compel a
conclusion that the College should take action to restrict its use of the gift. Further, Mr.
McCown vehemently denies any fraud or other wrongdoing of the kind described in your letter,
and the leadership of the College is inclined to believe him based on their years of collegial
friendship and awareness of his character.

The College is not willing to agree to your demands as a condition precedent to your obligation
to provide information and documentation. It is nonsensical to suggest that the College should
agree to an indefinite hold on the use of its funds based solely on bare allegations your client has
made, and do so based on your vague suggestion that, in return for the College’s acceptance of
your demands, your client will provide whatever information and documents it chooses to
provide on a schedule it determines. Your client needs to be far more forthcoming with
information on a prompt, voluntary and non-coercive basis. Reason suggests that if the
supporting evidence is as strong as the tenor of your allegations, your client should be happy to
immediately provide the information necessary to persuade the College of the truth of the
allegations.

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www.hollandhart.com

 
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 14 of 24

HOLLAND&HART. Seven

Page 2

The College requests all information or documents which you or your client believe supports the
allegations that Mr. McCown fraudulently or unlawfully obtained the money he gifted to the
College. My review of your letter suggests the following pertinent questions and topics:

e You state that Mr. McCown in his capacity of the CFO of the College stated his intention
to seek investment advisory services related to the College’s endowment. Please provide
any communication in which such an intention is stated.

e Please provide all documents signed by Mr. McCown or your client relating to the $15
million loan, and documents provided by Mr. McCown described in the second paragraph
of your letter. Since these documents appear to be the representations that allegedly
caused your client to loan money to Mr. McCown, please produce any evidence showing
the transmission or delivery of these documents by Mr. McCown to your client.

e The College would like to speak directly to the Vice President of Wyoming Community
Bank referred to in the third paragraph. Please provide his name.

e In the third paragraph of your letter, you refer to circumstances indicating that Mr.
McCown had access to an illegitimate bank email address. Please provide more
information about the circumstances you refer to indicating that Mr. McCown had access
to that email address.

e You reference “various documents” signed by Mr. McCown and purportedly notarized by
employees of the College. Please provide those documents, and, if your clients have also
executed those documents, please provide fully executed copies.

e The letter references unspecified additional documents that appear to have been forged,
presumably by Mr. McCown. Please provide those documents and explain why you
believe those documents are forgeries.

e Please provide documents and information regarding the identity of individuals who
received funds from the $15 million loan, and any documentation of receipt.

e To the extent you or your clients believe the College has any involvement in the
allegations of your letter beyond receipt of the gift and the employment of Mr. McCown,
please specify the involvement and the evidence supporting the assertion.

Mr. Popofsky, the College is dedicated to searching for truth in all things, including the
allegations about Mr. McCown’s conduct. Obviously, the College cannot employ a chief
financial officer who has committed fraud or misconduct of the kind alleged in your letter. The
College hopes that the information you provide will be clear and convincing. In the meantime,
the College has voluntarily and unilaterally decided to hold the funds pending completion of its
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 15 of 24

Steven R. Popofsky

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Page 3

investigation, or its determination that your client does not intend to promptly, fully and fairly
provide information and documentation to support its allegations.

Please do not hesitate to contact me if you have any questions. We can arrange for secure file
transfer when you are prepared to send documents for the College’s review.

Thank you for your time and attention.
Sincerely,

Ga ke

Bradley T. Cave
Partner
of Holland & Hart up
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 16 of 24

Exhibit B
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 17 of 24

VISIT (/ADMISSIONS/VISIT/) APPLY (/ADMISSIONS/APPLY/) GIVE (/SUPPORT/GIVE/)

 

Statement Regarding Mr. Paul McCown

 

POSTED ON JULY 7, 2021 IN NEWS (HTTPS://WYOMINGCATHOLIC.EDU/CATEGORY/NEWS/)

On June 3, Wyoming Catholic College was made aware of personal financial
irregularities involving Mr. Paul McCown, WCC's then-Chief Financial Officer. On
June 5, McCown, who had been employed by WCC since May 2018, was placed on
indefinite administrative leave.

On June 22, Wyoming Catholic College learned of a federal civil suit filed in the
United States District Court for the District of Wyoming, alleging that McCown—
without the Knowledge of the College—fraudulently obtained a substantial sum of
money through alleged illicit transactions. Some of those funds were donated by
McCown to Wyoming Catholic College. WCC is cooperating with parties involved in
the civil suit, and the funds are in the process of being returned.

On June 25 McCown resigned as CFO. A second WCC employee referenced in the
suit has been placed on administrative leave.
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 18 of 24

Over the past month, to experience such a profound breach of trust by a leader of
our institution, has been both embarrassing and painful for Wyoming Catholic
College. However, an initial internal review by the College found no additional
financial irregularities, and Wyoming Catholic College has neither been sued nor is a

defendant to the suit.

| f SHARE |

 

\

Y TWEET |

 

Related College News

  

(https://wyomingcatholic.edu/graduation2021/)

WCC Graduates Celebrated;
Encouraged to Embrace Challenges
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(rttas://wyomingcatholic.edu/graduation2021/)
(HTTPS://WYOMINGCATHOLIC.EDU/CATEGORY/NEWS/)

   

(https://wyomingcatholic.edu/remembering-
chuck-guschewsky/)

Remembering Chuck Guschewsky,
Long-Time Friend and Board Member
of Wyoming Catholic College »

(https://wyomingcatholic.edu/remembering-

Gouck-guschewsky/)
(HTTPS://WYOMINGCATHOLIC.EDU/CATEGORY/NEWS/)
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 19 of 24

 

lecture/)

Dr. Susan Hanssen to Deliver Final
Lecture of Annual Lecture Series on
May 14th »

(https://wyomingcatholic.edu/hanssen-

lesture/)

(HTTPS://WYOMINGCATHOLIC.EDU/CATEGORY/NEWS/)

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CONTACT US) (/contact/) ( ~ppLy Now _ ) (/admissions/apply/)
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 20 of 24

Exhibit C
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 21 of 24

 

From: "Dr. Glenn C. Arbery" <president@wyomingcatholic.edu>
Date: July 8, 2021 at 6:10:05 PM EDT

To: etgonzalez@aol.com

Subject: The Tar of Fraud

Reply-To: president@wyomingcatholic.edu
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 22 of 24

CATHOLIC

AN

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PbO ona ae

ao 4d TR Ooo

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“Things are not what they seem’”—that's an old story in the history of all civilizations and cultures.
Wyoming Catholic College has felt the truth of that sentiment strike home recently. But we have also
had occasion to remember Julian of Norwich as quoted by T.S. Eliot: “And all shall be well and all

manner of thing shall be well.”
Glenn C. Arbery, Ph.D.

President

 

The Tar of Fraud

Last week, | wrote about Dante’s Jnferno, and this week I need to be more specific. For the past month,
the plans of Wyoming Catholic College for a major building project we were undertaking have been
cast into uncertainty. On June 3, the largest single gift in the College’s history, received in May, was
alleged to have been fraudulently obtained through part of a $15 million loan to our then-Chief
Financial Officer, Paul McCown. Stunned by this allegation, we placed Mr. McCown on administrative
leave and retained counsel for the College. On June 22, a civil lawsuit against Mr. McCown was filed in
the U.S. District Court for the District of Wyoming. On June 25, Mr. McCown resigned.

This complicated story broke today in the Casper Star-Tribune. We had already posted a statement on
our website, which is as detailed as it can be in the circumstances of the ongoing investigation. Many
people, by no means exclusively those of us at WCC, have been deeply hurt, both personally and
professionally, by the fraudulent activity allegedly committed by Mr. McCown. As of today, the money
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 23 of 24

 
      

is in the process of being returned, and we have revised our plans to begin the renovation of the
Baldwin building—a project that had generated great excitement in our community and the city of
Lander, and was slated to begin as early as next month. We had already incurred expenses, especially
for architectural plans, but—thanks be to God—we had not yet committed ourselves to a construction
project.

   
   
 
 
 
 
 
 
   
  
 
 
 

I want to emphasize that the real effect of the gift was to make us believe that we were capable of acting
more quickly to begin the next phase of the college’s future than is in fact the case. Although the gift
itself turned out to be the result of a remarkably complex act of fraud, our plans for the college are
sound, and our hope is by no means destroyed—~merely delayed. Despite literally having money in the
bank, we had not yet incurred expenses that would endanger the operations of the college, which this
summer attracted its largest-ever PEAK enrollment of high school students (three sessions), and which
welcomes its largest-ever freshman class in three weeks. We are confident that Wyoming Catholic
College will be stronger for having shaken off this false hope and having addressed this threat to our
unique mission. Who is not stronger for knowing the truth?

 

In the meantime, however, ] am made more aware than ever of the nature of false gifts revealed in the
great books of our curriculum. In the Aeneid, for example, Aeneas tells Dido the story of Sinon, who
presents himself to the Trojans (after the Greek had supposedly sailed away) as a hated and much-
abused escapee from the Greek camp. Aided by deceitful gods, Sinon convinces the pious Trojans that
the great Trojan Horse so conspicuously left behind was dedicated to Athena and that it would
guarantee perpetual safety to Troy if they took it into their city. The Greeks made it too big, he tells
them, for them to get it inside Troy. The Trojans break open the gates to accommodate it. Their very
piety and their desire for the good of their city subject them to what follows.

 

Well, we have not torn down anything to take in this false gift, thank God. Instead, staff and faculty at
Wyoming Catholic College are meeting every day in the hallway outside my office to pray the Divine
Mercy chaplet and the St. Michael prayer, because WCC is under attack by the Adversary, the enemy of
all good, We are dealing with his tar. In Dante’s Jnferno, the Fifth Bolgia of the Eighth Circle punishes
the sin of barratry. As one commentator puts it, “Barafferia is a medieval term no longer in use, which
signifies fraud committed to obtain illicit gain to the detriment of one’s community... For

Dante, baratieria is the corruption of the state as simony is the corruption of the Church.” The punitive
form of this particular pocket of hell is bubbling tar, the kind shipwrights use to make their vessels
watertight—the opposite of what these grafters have been doing with their fraud, which is making the
common good of the community leak away. But the image of tar works another way as well. Fraud is
sticky stuff. Even being in proximity to it can tar someone with suspicion. We will do all we can to
keep that from happening in our community.

 

In the next pocket of the Jnferno after the barrators, by the way, come the hypocrites. I’ll switch poets
for a description of this sin. In Paradise Lost, Milton writes that “neither Man nor Angel can
discern/Hypocrisy, the only evil that walks/Invisible, except to God alone.” How easy it is to think that
others should have seen through fraud and hypocrisy—Church officials, for example, in cases of sexual
abuse or embezzlement. But let us judge not, lest we be judged. God sees what we do not, and we trust
in His Mercy.

    
 
 

 

Wyoming Catholic College forms students through a rigorous immersion in the primary sources of the classical liberal arts tradition,
the grandeur of the mountain wilderness, and the spiritual heritage of the Catholic Church. Grounded in real experience and
thoughtful reflection, our graduates love truth, think clearly, and communicate eloquently, engaging with the world as it is. We
remain committed to this vital missi in these st ti f pandemic and civil unrest. If you : ble, pt id

       

 
 

   
  

   

           

                
Case 0:21-cv-00222-KHR Document1 Filed 12/06/21 Page 24 of 24

making a tax-deductible gift in support of our extraordinary educational vision, ensuring that the College can continue to shape the
leaders our country and society so desperately needs.

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